It is ordered and adjudged that the demurrer to the amended petition be, and the same hereby is, overruled upon the authority of State, ex rel. Dieckroegger, v. Conners, 122 Ohio St. 359.
It is therefore ordered and adjudged that the writ of mandamus prayed for be, and the same hereby is, allowed, and the said defendant members of said board of trustees now in charge of the police *Page 671 
relief fund of Cincinnati, are commanded to restore the relator's name to the pension list and to continue relator's monthly pension at the rate of seventy-five dollars ($75.00) per month; and said board is commanded to issue in favor of relator the necessary orders for said monthly pension, drawn upon the police relief fund of said city and directed to the said treasurer as custodian of said fund for each month subsequent to February 10, 1930; and the said defendant president of said board is commanded to sign, and said defendant secretary of said board to countersign, said pension order.
Writ allowed.
KINKADE, ROBINSON, JONES, MATTHIAS, DAY and ALLEN, JJ., concur.